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   May 3, 2023

   The Honorable Michael E. Hegarty
   U.S. Magistrate Judge
   U.S. District Court for the District of Colorado
   901 19th Street, Courtroom A-501
   Denver, CO 80294

                     Re: Guzman Loera v. True et al, 1:21-cv-02794-NYW-MEH


   Your Honor,

   I have a court appearance in Puerto Rico on May 11th and another one on May 17th. Is it possible
   to move this scheduling conference to either May 12th, May 18th or May 19th?

   Furthermore, co-counsel, Jodi Morales, Esq., and I would like to request the Court’s permission
   for us to appear virtually.

   Thank you for your consideration in the matter.


                                                                      Respectfully submitted,



                                                                      Mariel Colon Miro, Esq.



   cc: Clerk of Court (by ECF)
   AUSA Thomas Isler, Esq.
